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                   IN THE UNITED STATES DISTRICT COURT DisjiIict
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                       EGR THE DISTRICT OF WYOMING
                                                                      SrErnAc;
                                                                            CHEYENNE
UNITED STATES OF AMERICA,

                           Plaintiff,
vs.                                          Case No: 10-CR-270-D

CODY R. COOK,

                        Defendant.


          ORDER DENYING REQUEST FOR STATEMENT OF REASONS


      This matter is before the Court on Defendant's request for the Statement of

Reasons in his case. The Statement of Reasons is not for public disclosure and the Court

will not provide this document.

      IT IS ORDERED that Defendant's request for a copy of his Statement of Reasons

is DENIED.


      Dated this        day of May,2017.



                                        NANCY/D.FREUDENTHAL
                                        CHIEF(JN^TED STATES DISTRICT JUDGE
